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‘Septenber 12020 1035 2% Coronavirus ia still active in New York, We have to be smart Wear
GET THE FACTS >

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Measles is a serious respiratory disease that causes a rash and fever. It is very contagious. People with measles spread the virus by coughing or
sneezing into the air. You can catch the disease just by entering a room that an infected person visited two hours before. A small number of
people who get measles will need to be hospitalized and could die. Many people with measles have complications such as diarrhea, ear
infections or pneumonia. They can also get a brain infection that can lead to permanent brain damage. Measles during pregnancy increases the
risk of early labor, miscariage and low birth weight infants. Measles can be more severe in people with weak immune systems.

New School Vaccination Requirement: Parents, to learn more about school vaccination requirements that became effective June 13, 2019, visit
the NYSDOH's School Vaccination page.
If you have quest about les or the les vaccine, contact the New York State Department of Health at jimmunize@health.ny.gov.

Data Source:

Data for this dashboard is measles cases reported to NYSDOH between October 1, 2018 to November 16, 2019. For more informabon about this
dashboard, please contact nysapd@health.ny.goy. For more details on data sources, definitions, and analysis methods, please see Overview of
the Measles Watch Dashboard. Additional useful educational resources on les are lable on NYSDOH’s Measles page. See the
Communicable Disease Annual Reports page for measles case counts and incidence rates by county and statewide (including NYC) prior to 2018.

New York State Measles Watch

Measles Activity by Week Look-up Immunization Map of Student Exemption Find an MMR Vaccine Near
Rates for NYS Schools Rates for NYS Schools You
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